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OF FLORIDA

Case 18-19580-RAM Doc 83 __ Filed 01/25/21 Fag
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRIC

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CHAPTER 13 PLAN (Individual Adjustment of Debts

 

 

 

 

 

CJ Original Plan
C] Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
{m] First Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
DEBTOR: Julio Campa JOINT DEBTOR: CASE NO.: 18-19580
SS#: xxx-xx- 9170 SS#: xxx-xx-
IL NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: | Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a .
partial payment or no payment at all to the secured creditor LJ Included [m} Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set .
out in Section III ["] Included [m] Not included
Nonstandard provisions, set out in Section VIII (m) Included [_] Not included

 

 

 

 

 

Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

1. $1,367.63 formonths 1 to 8 ;
2. $1,405.28 formonths 9 to 29 ;
3. $323.21 for months 30 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [J] NONE []PROBONO
Total Fees: $4460.00 Total Paid: $1600.00 Balance Due: $2860.00
Payable $296.00 /month (Months 1 to 7 )
Payable $238.00 /month (Months 8 to)
Payable $17.75 /month (Months 30 to 60 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500.00 Regular Fee, $310.00 Filing Fee, $150.00 Costs, $500.00 Motion to Modify.

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
108 TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [[] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

1. Creditor: Bank of America

 

 

 

 

 

Address: P.O. Box 31785 Arrearage/ Payoff on Petition Date $46,438.48
Tampa, FL 33631 MMM Adequate Protection $935.00 /month (Months 1 to 60 )
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Last 4 Digits of 7525 Regular Payment (Maintain) $761.65 /month(Months 1 to 29 )
AccountNo.: ~~
Arrears Payment (Cure) $173.35 /month (Months 1 to 29 )

Other:
[_] Real Property Check one below for Real Property:

{m Principal Residence [_]Escrow is included in the regular payments

[Other Real Property {m)The debtor(s) will pay mJtaxes _[lJinsurance directly
Address of Collateral:

17011 Miami Lakeway S., Miami Lakes, FL 33014

[_] Personal Property/Vehicle

 

Description of Collateral:

 

 

 

B. VALUATION OF COLLATERAL: [Bi] NONE

C. LIEN AVOIDANCE [lm] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

{™] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

( NONE

[B) The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
\ Bank of America /7525 now 7285 17011 Miami Lakeway S., Miami Lakes, FL 33014
- US Bank

 

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [@] NONE
B. INTERNAL REVENUE SERVICE: [@] NONE

C. DOMESTIC SUPPORT OBLIGATION(S): [HB] NONE
D. OTHER: [mg] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $58.00 /month(Months 8 to __)

Pay $296.00 /month (Months 9 _ to 40 )

Pay $340.00 /month (Months 41 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [Bj If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [=] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[mw] NONE
INCOME TAX RETURNS AND REFUNDS: [li] NONE
NON-STANDARD PLAN PROVISIONS [ml] NONE

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

mpa Case number: 18-19580

 

 

VL posi J-2¢-Z2/ Joint Debtor

 

Js Campa Date Date
Ben R. Hetfeld, Esq. January 21, 2021
Attorney with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VILE.

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